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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION



UNITED STATES OF AMERICA,

               Plaintiff,
                                                               CASE NO. 1:22-cr-99
v.
                                                               HON. ROBERT J. JONKER
SAMANTHA JEAN BATTS,

            Defendant.
__________________________________/

                                              ORDER


       The government seeks to file portions of defendant Batts’ Plea Agreement on a restricted

access basis. ECF No. 38. The Court is not satisfied that there is sufficient good cause for

the restricted access filing, so the motion is DENIED.

       As to the cooperation provisions, there is no particularized risk of record, and the

undersigned has long required more than a generalized risk to support restricted access filings of

cooperation provisions. In the undersigned’s view, a routine filing of cooperation provision on a

restricted access basis risks creating a distorted public record.

       As to the nature of the offense conduct, the Court recognizes that the facts are sexually

graphic, but that is required by the nature of the charge, and it is important for the public to

understand just how graphic the offense conduct was when it comes to understanding any sentence

eventually imposed. Moreover, at least some of the offense conduct already appears in the original

criminal complaint in the case, which was unsealed after defendants’ arrest. Finally and most
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importantly, the identities of the minor victims are fully protected in the description, which

satisfies victim privacy interests in the Court’s view.




Dated:     September 19, 2022                   /s/ Robert J. Jonker
                                               ROBERT J. JONKER
                                               UNITED STATES DISTRICT JUDGE
